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                  EXHIBIT AA@
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                           COLLABORATIVE RESEARCH AGREEMENT

   THIS COLLABORATIVE RESEARCH AGREEMENT (the "Agreement") is entered into as
   of the 1st day of January, 2020 (the "Effective Date") by and between Tassili Life Sciences Corp., a
   body corporate formed under the Ontario Business Corporations Act (the "Company"), with a registered
   office located at 200-366 Bay St., Toronto, ON, M5H 4B2 and University of Miami, a not-for-profit
   corporation having an office at 1320 S. Dixie Highway, Gables One Tower #650, Locator Code
   2960, Coral Gables, FL 33146 (the "Institution"). Each of Company and Institution are
   sometimes referred to herein as a "Party" or, jointly, as the "Parties."

         WHEREAS, the Parties each possess certain resources, expertise and technology
   necessary for research projects in the fields of treatment of post traumatic stress disorder
   (“PTSD”) and/or traumatic brain injury with PTSD ("TBI-PTSD"); and

         WHEREAS, the Parties desire to collaborate during the Term (as hereinafter defined) in
   connection with various pre-clinical research initiatives for the Company (the "Project) under this
   Agreement; and

          WHEREAS, Dr. Michael Hoffer, an employee of Institution will direct, manage, develop
   and coordinate the Project on behalf of Institution ("Project Manager"); and

          NOW, THEREFORE, in consideration of the mutual promises and covenants contained herein,
   and intending to be legally bound hereby, the Parties agree as follows:

   1.     Collaborative Research Plan.

         1.1     Each of the Parties agrees to use its reasonable efforts to conduct research and
                 development to evaluate and further develop for commercial applications, certain
                 targeted therapeutics identified or otherwise characterized hereunder, with the
                 assistance, cooperation and guidance of a dedicated team. The Project shall be
                 conducted in accordance with the statement of work attached hereto and made a part
                 hereof as Exhibit A (the "Statement of Work"). The Statement of Work outlines the
                 proposed research as well as proposed timelines and funding of research to be
                 undertaken by the Institution on behalf of the Company. In undertaking the Project, the
                 Parties shall use their respective reasonable efforts to execute the Project in accordance
                 with prevailing high professional standards and will use reasonable efforts to produce
                 consistently high levels of accuracy and expertise and to meet timetables associated with
                 the applicable Statement of Work. The Parties shall use their respective reasonable
                 efforts to perform the Project in accordance with federal, state and local laws and
                 regulations applicable to the research, as appropriate, including, without limitation,
                 academic standards and all laws and regulations that apply to such standards and
                 applicable ethical standards as well as in accordance with U.S. Food and Drug
                 Administration Good Laboratory Practice regulatory standards. Neither Party
                 provides any warranty as to the commercial or scientific value of any results
                 achieved under this Agreement.

    2.      Term. The term of this Agreement shall commence upon the Effective Date of this
   Agreement and terminate on the 30 th day of April, 2021 (the "Term") unless sooner terminated
   in accordance with Section 8 herein or extended by the Parties.
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   3.      Payment. The obligation of the Institution to commence and continue the Project is
   contingent upon the Company making payments to the Institution in accordance with the budget outlined
   in Exhibit B ("Budget"). The Parties acknowledge that the Budget amounts represent an equitable
   exchange for the conduct of the Study in light of the professional time and expenses required for the
   performance of the Project. The Budget was prepared by the Project Manager for the completion of
   the Statement of Work and reviewed and agreed to by the Company. The Institution agrees to
   complete the Project on time and according to the agreed upon Budget. Any deviation in timeline and
   Budget will have to be approved by the Company at its sole discretion.

   Payments will be submitted to:

          University of Miami
          Attn: Office of Research Administration. P.O.
          Box 405803
          Atlanta, GA 30384-5803

   The Institution's tax identification number is: XX-XXXXXXX.
   Institution and Company represent that the amount of compensation to Institution hereunder represents
   the fair market value for the services that Institution has agreed to render and has not been determined
   in any manner that takes into account the result of the Project or the volume or value of any referrals
   or business otherwise generated between Institution and/or Project Manager and Company.

    4.     Materials and Resources.

          4.1     All materials, including derivatives and progeny thereof, provided for the Project and all
                  subparts thereof under this Agreement (the "Materials") supplied by either Party,
                  including any Materials included or incorporated into any modifications, shall remain the
                  property of the Party providing it (in any case, the "Provider") and will be used by the
                  receiving Party ("Recipient") solely for the intended Project during the Term (or as
                  permitted under any license granted pursuant to this Agreement). Materials will not be
                  used in human subjects, in clinical trials, or for diagnostic purposes involving human
                  subjects without the prior written consent of the Provider. The Materials will be returned
                  to the Provider or destroyed by the Recipient, as requested by the Provider, at the end of
                  the Term.

          4.2     The Materials shall be used with prudence and appropriate caution in any
                  experimental work. ANY MATERIALS PROVIDED SHALL BE PROVIDED
                  WITHOUT WARRANTY OF MERCHANTABILITY OR FITNESS FOR ANY
                  PARTICULAR PURPOSE OR ANY OTHER WARRANTY, EXPRESS OR
                  IMPLIED, INCLUDING ANY WARRANTY OF NON-INFRINGEMENT OF
                  THIRD PARTY RIGHTS. Drugs being utilized in the pre-clinical testing are being
                  purchased by Institution from suppliers. The Parties will use their reasonable best
                  efforts to ensure that the drugs purchased are of adequate quality as necessary for both
                  safety and for accuracy of the testing procedures.

          4.3     Except as otherwise expressly provided in this Agreement, no option, license, or
                  conveyance of rights, express or implied, is granted by one Party to the other Party
                  in connection with any Materials provided under this Agreement, except the right to use
                  the Materials strictly for the relevant Statement of Work and in accordance with the
                  terms of this Agreement.
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         4.4    Institution shall: (a) provide facilities, space and laboratory equipment reasonably
                necessary for the conduct of the Project at Institution's own costs, except as
                specifically otherwise provided in this Agreement; (b) provide any animals involved in
                the Project; (c) provide any drugs or other medical materials involved in the Project; (d)
                perform the pre-clinical studies; (e) obtain necessary permits and approvals from the
                FDA and other agencies as may be necessary to handle the drugs involved and to
                conduct the research; and (f) conduct the Project in accordance with established
                Institution policies and procedures, as applicable, including, but not limited to,
                laboratory animals, and hazardous agents and materials, as applicable, which shall
                comply with all Applicable Laws.

   5.    Independent Contractor.

         5.1     Each of the Parties is an independent contractor and agrees and represents to the
               other that, except as contemplated by the provisions of this Agreement, neither will
               attempt at any time to exercise any significant degree of control over the other's
               research efforts in connection with this Agreement. Exhibit A outlines the agreed scope
               of the Project.

         5.2     Nothing in this Agreement shall be construed to create a partnership or joint venture
               between the Parties; nor shall Party's employees, servants, agents or representatives
               be considered the employees, servants, agents or representatives of the other. Neither
               Party shall have any express or implied right or authority to assume or create any
               obligation on behalf of, or in the name of, the other, or to bind the other to any
               contract, agreement or undertaking with any third party.

         5.3    Each Party shall be responsible for its own payroll and tax obligations and to
                provide any and all employment related insurances, including Workers'
                Compensation and Employer's Liability, for its own employees involved in the
                Project.

   6.   Results. Reports and Records.

        6.1     All "data" from testing undertaken in connection with the Project (the "Results") shall be
                owned by the Company with the following qualifications: (a) the Company hereby
                grants to the Institution a perpetual, royalty-free, fully paid-up, non-exclusive, non-
                sublicensable license solely for research purposes and for its publication in
                accordance with Section 13 below; (b) all intellectual property rights (which are
                different than Results) are governed by Section 7 below. For clarity, the above license
                granted to Institution shall include the right to use Results and data for future grant
                applications.

         6.2    The Institution will provide the Company with quarterly written reports as to the status
                of the Project and the Results from the prior quarter. The Parties will also additionally
                hold monthly meetings to discuss any ongoing issues on the Projects, as well as the
                status of the Project.

        6.3     The Institution will further provide a final written report shortly after the completion of
                each phase of the Statement of Work, or the earlier termination of this Agreement,
                including all such other information concerning the Statement of Work or the
                Project overall as the Company may reasonably request.
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        6.4    The Institution will maintain such records and accounts necessary to assure proper
               accounting of all funds relating to each phase of the Statement of Work, as
               applicable. Such records and accounts will be made available to the Company during
               the Term for the limited purpose of verifying compliance (such records to be kept
               strictly confidential except to the extent as may be required by law) and for three (3)
               years after completion of the Project, or earlier termination of this Agreement.

        6.5    The Institution shall provide a detailed quarterly accounting to the Company of monies
               spent during the prior quarter in connection with the Project.

   7.    Intellectual Property Rights.

         7.1    The term " Invention and Discover y" means any invention, discovery,
               improvement, development, know-how, knowledge, or trade secret conceived
               and reduced to practice by either party or both parties in the performance of
               Project under this Agreement, whether or not patented or patentable.

        7.2    Inventorship of Inventions and Discoveries will be determined according to applicable
               U.S. patent laws. Inventions and Discoveries conceived and reduced to practice under this
               Agreement, and any application for patent or patent granted therefore, shall be the
               exclusive property of the Company. It is recognized and understood that certain
               existing inventions and technologies and those arising outside of the Project conducted
               under this Agreement are the separate property of Company or Institution and are not
               affected by this Agreement, and neither Party shall have any claims to or rights in such
               separate inventions and technologies. If Company wishes to pursue prosecution of
               patent applications thereupon, Company and Institution agree to the following: (a) To
               cooperate fully and to sign such documents as may be necessary to perfect title and
               prosecute such patent applications, (b) Title to all such issued patents shall be held by
               the Company, and the Institution agrees to assign any such patent rights to the
               Company, (c) Patent expenses incurred in obtaining and maintaining such patents shall
               be paid by Company, (d) Company shall have full patent prosecution authority of such
               patents.

        7.3    Any new Inventions and Discoveries made during and in the performance of the
               Project shall be disclosed to Company within sixty (60) days of Institution receipt of
               an applicable Invention disclosure.

         7.4   Institution is granted a royalty-free, irrevocable, non-assignable license to use
               for its own internal use and for research conducted at the Institution facility
               pertaining to any Invention and Discovery resulting from the work conceived
               and reduced to practice under this Agreement.

         7.5    Nothing contained in this Agreement shall be deemed to either directly, by
                implication, by estoppel, or otherwise grant any license under any patents, patent
                applications, or other proprietary interest to any other inventions, discovery or
                improvement of either Party.

   8.    Termination.

         8.1    The Project, or any phase within the Statement of Work, may be terminated prior
                   to the completion thereof should any one or more of the following events occur:
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                    (a)    either Party materially breaches this Agreement, and the non-breaching
                           Party provides the breaching Party with thirty (30) days' advance written notice
                           of termination and such breach is not remedied within such thirty (30) day
                           period;

                    (b)    either Party files for creditor protection under any section of the United
                           States Bankruptcy Code;

                    (c)    a bankruptcy trustee or receiver is appointed for either Party;

                    (d)    any Party determines in its sole judgment that the Project will not achieve
                           a positive outcome;

                    (e)    if the Project Manager is unable to continue participating in the Project and
                           Institution is unable to find a mutually agreeable replacement Project Manager.

            8.2    A Party must provide ninety (90) days' prior written notice to the other Party of
                  any intent to terminate.

            8.3   In the event of termination hereunder the total sums payable by Company
                  pursuant to this Agreement shall be equitably prorated for actual work advanced to
                  the date of termination including, but not limited to, non-cancellable expenses, with any
                  unexpended funds previously paid by Company to Institution being promptly
                  refunded to Company.

            8.4     Termination of this Agreement will not affect the rights and obligations of the
                  Parties accrued prior to the termination hereof. The provisions of Section 4,
                  entitled "Materials and Resources Provided, Section 6, entitled "Results, Reports and
                  Records", Section 7, entitled "Intellectual Property Rights", Sections 8.3 and 8 .4
                  w i t hi n t he S e ct i on e n t i t l e d " T e r mi n at i o n " , S e ct i o n 9 , en t i t l e d
                  "Indemnification", Section 11, entitled "Confidentiality", Section 12, entitled
                  "Publicity", Section 13, entitled "Publication Rights", Section 14, entitled
                  "Additional Work", Section 16, entitled "Governing Law" and Section 23, entitled
                  "Disclaimer of Warranty" shall all survive Termination.

    9.      Indemnification.

         Each of the Parties (each an "Indemnifying Party") agrees to indemnify and hold
         harmless the other Party, its employees, officers and agents (each an "Indemnified
         Party") from any and all liability, loss, damage and expense (including reasonable
         attorneys' fees) (collectively, "Damages") caused by or resulting from claims, demands,
         costs or judgments which may be made or instituted against the Indemnified Party or
         any of them by reason of (a) the breach of this Agreement by the Indemnifying Party, (b)
         the negligent acts or omissions of the Indemnifying Party in connection with this
         Agreement, or (c) use by the Indemnifying Party of any Results and/or any assigned
         Inventions and Discoveries and intellectual property of any type.
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    10.    Representations.

          10.1    Institution hereby represents to Company that (i) Institution has full legal right,
                 power and authority to execute, deliver and perform its obligations under this
                 Agreement and (ii) the execution, delivery and performance by Institution of this
                 Agreement do not contravene or constitute a default under any provision of
                 applicable law or its organization documents or under any agreement, judgment,
                 injunction, order, decree or other instrument binding upon Institution.

          10.2   Company hereby represents to Institution that (i) Company has full legal right,
                 power and authority to execute, deliver and perform its obligations under this
                 Agreement, (ii) the execution, delivery and performance by Company of this
                 Agreement do not contravene or constitute a default under any provision of
                 applicable law or its organization documents or of any agreement, judgment,
                 injunction, order, decree or other instrument binding upon Company, and (iii) this
                 Agreement constitutes a valid and binding agreement of Company enforceable against
                 Company in accordance with its terms.

    11.    Confidentiality.

          11.1   Each of the Parties acknowledges that it may be necessary to disclose information to
                 the other which the disclosing Party considers proprietary or confidential in or der
                 f o r e a c h o f t h e Par t i e s t o p e r f or m t he P r oj e c t ( " Conf ide nt i al
                 Information"). To preserve the proprietary or confidential nature of such
                 Confidential Information, each Party as a disclosing Party agrees: (a) clearly to
                 mark the term "CONFIDENTIAL" on its Confidential Information upon
                 disclosure to the other Party when such disclosure is made in tangible form or (b) in
                 the case of oral or other intangible disclosures, to indicate the confidential
                 nature of such infor mation in a written summar y clearly mar ked as
                 "CONFIDENTIAL" and transmitted to the other Party within thirty (30) days of the
                 intangible disclosure. In the event Confidential Information is disclosed and is not orally
                 identified or is not reduced to a writing in accordance with the above, receiving Party
                 agrees to treat such information as Confidential Information of the disclosing Party to the
                 extent a reasonable person in the industry or technical field would regard such
                 information to be confidential given the content and the circumstances of its disclosure.

          11.2   During the Term and for a period of five (5) years following the termination or
                 expiration of this Agreement, each Party shall use its reasonable efforts to protect the
                 confidentiality of Confidential information and shall not use it for any purpose other
                 than to exercise its rights and responsibilities under this Agreement and will not sell,
                 transfer, publish or otherwise disclose such information to any third party without
                 the disclosing Party's prior written consent.

          11.3   The parties acknowledge and agree that a breach of the provisions of this Section 11
                 might result in immediate and irreparable harm to the business and goodwill of the
                 other Party and that damages, if any, and remedies at law for such breach might be
                 inadequate and not readily determinable. Upon a breach or threatened breach or
                 violation of the provisions of this Section 11, the disclosing Party shall be entitled to
                 seek from a court of competent jurisdiction equitable relief by way of a temporary or
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                  permanent injunction to restrain any further breach or violation and such relief as the
                  court may deem just and proper at law or in equity.

          11.4    The Parties' obligation of non-disclosure shall not apply to any or all of
                  information that:

                  (a)     is in the public domain at the time of disclosure;

                  (b)     becomes part of the public domain after disclosure through no fault of the
                          receiving Party;

                  (c)     is in the receiving Party's possession at the time of disclosure, as
                          demonstrated by written or electronic documentation, or is properly
                          obtained by the receiving Party from a third party with a valid legal right to
                          disclose such information, and such third party is not under a
                          confidentiality obligation to the disclosing Party (excepted from this
                          provision is any confidential information that has been shared between the
                          parties in connection with the development of the Project); or

                  (d)     is independently developed by the receiving Party without use or reference to
                          the Confidential Information, as demonstrated by written or electronic
                          documentation generated contemporaneously with such independent
                          development.

                  (e)     is required to be disclosed due to applicable law, court order, statute, or
                          regulation to the extent (i) the receiving Party provides the disclosing Party
                          with written notice of such obligation promptly (prior to the date of legally
                          required disclosure if practicable) of such obligation so that the disclosing
                          Party can seek to limit the extent and conditions of such required
                          disclosure; and provided that (ii) the receiving Party only discloses that
                          portion of the Confidential Information it is legally compelled to disclose.

    12.      Publicity. Neither Party shall, without the prior written consent of the other Party, use the
   name of the other Party, nor of any member of the other Party's staff, any employee or student of
   the other Party, nor any of the other Party's trademarks, nor any adaptation of any of the foregoing,
   in connection with any products, promotion, articles, press release or other commercial
   communication or advertising without the prior written approval of the other Party. Notwithstanding the
   foregoing, Institution consents to Company's disclosure of this Agreement and the use of the name of
   Institution as part of regulatory submissions and as may be otherwise required by applicable laws and
   in connection with Company's financing activities, including in any investor presentations.
   Institution may acknowledge, without Company's prior approval, Institution's receipt of financial
   support from Company and participation in connection with the general subject matter of this
   Agreement and may acknowledge Company contribution in any publication of data and results
   generated under the Project. The Parties understand and agree that publications are addressed in
   Section 13 of this Agreement.

    13.    Publication Rights.

          13.1     Subject to the provisions of this Section 13, Institution shall have the right to
                  publish its results of and disseminate information it obtained pertaining to its work
                  on the Project conducted under this Agreement whether in symposia, national or
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                  regional professional meetings or in journals, theses or dissertations, subject to
                  Section 13.2 below.

          13.2    Institution agrees to submit any proposed publication or public presentation of the
                  results of any phase within the Statement of Work under the Project to the
                  Company for review at least sixty (60) days prior to the date of submission for
                  publication or the scheduled date for public presentation, which ever date may be earlier.
                  The purposes for such prior submission are: (i) to identify any Company Confidential
                  Information to be deleted from the proposed publication or presentation; and
                  (ii) to allow time for any patentable subject matter to be identified. Company shall
                  provide any comments to Institution within thirty (30) days of receipt of the proposed
                  publication or presentation. Institution shall give due consideration to any comments
                  made by Company however, Institution shall have no obligation to incorporate
                  Company's comments into the publication. Institution hereby agrees to delete from
                  the proposed publication any Company Confidential Information, which Company
                  requests Institution to delete (excluding any Results of the Project or individual phases
                  of the Project). Company personnel shall be acknowledged with customary scientific
                  practice. Company shall have thirty (30) days after receipt of the proposed
                  publication or presentation to object to the proposed publication or presentation on the
                  grounds that there is patentable subject matter that needs protection. In the event
                  Company makes such objection, the Institution shall refrain from making such
                  publication or presentation for such time as requested by Company, but in any event
                  no longer than sixty (60) days from the date of receipt of such objection, in order for
                  patent application(s) directed to the patentable subject matter contained in the proposed
                  publication or presentation to be filed with the United States Patent and Trademark
                  Office and/or foreign patent office(s).

    14.     Notice. Any notice or communication pursuant to this Agreement shall be sufficiently made
   or given if sent by certified or registered mail, postage prepaid, or by overnight courier, with proof
   of delivery by receipt, addressed to the address below or as either Party shall designate by written
   notice to the other Party.

          In the case of Institution, to:

          University of Miami
          Attn: Executive Director, Pre Award
          Office of Research Administration
          1320 South Dixie Highway, Suite 650 Coral
          Gables, FL 33146
          Telephone Number: (305) 284-3952
          Email: cris@med.miami.edu

          In the case of Company, by email to:

          Jonathan Gilbert
          j.gilbert@tassililifesciences.com

          With an additional copy to

          Maghsoud Dariani          mdariani@comcast.net
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    15.     Governing Law. This Agreement shall be governed by and construed in accordance with
    the laws of the State of Florida notwithstanding any conflicts of laws principles to the contrary, and
    any suit to enforce the terms of this Agreement or otherwise arising under this Agreement, shall be
    brought in the federal or state courts located within Miami-Dade County, State of Florida, USA.

    16.    Entire Agreement. This Agreement, together with all attachments and exhibits,
    constitutes the entire agreement and understanding between the Parties and supersedes any prior or
    contemporaneous negotiations, agreements, understandings, or arrangements of any nature or kind
    with respect to the subject matter herein and may only be amended by written agreement by and
    between the Parties. In the event of any inconsistency between this Agreement or any attachments
    and exhibits, the terms of this Agreement shall govern.

     17.    Waiver. Neither Party waives its right to enforce any and all provisions of the
    Agreement at any time during the Term. Either Party's failure to enforce any provision shall not
    prejudice such Party from later enforcing or exercising the same or any other provision of the
    Agreement.

     18.    Modifications. This Agreement may not be changed, altered, modified, amended,
    rescinded, canceled or waived except by a writing executed by authorized representatives the Parties.

    19.      Binding Agreement on Successors. This Agreement may not be assigned by either Party
    without the prior written consent of the other Party.

     20.    Headings. Headings are for convenience of reference only, and not for interpreting the
    provisions of the Agreement.

     21.     Counterparts. Execution signatures to this Agreement may be exchanged as scanned e-
    mail attachments and all signatures so exchanged shall be considered as original for all purpose. This
    Agreement may be executed in counterparts, and by either Party on a separate counterpart, each of
    which shall be deemed an original, but all of which together shall constitute one and the same
    instrument.

     22.     Disclaimer of Warranty.             T HE PART IES EX PR ESSLY D IS CLA IM A LL
    WARRANTIES RELATED TO THE PROJECT RESULTS AND DATA, INCLUDING
    IM P L IE D W A R RA NT IE S O F M E R C HA NT A B IL IT Y A N D F IT NE S S F OR US E.
    Notwithstanding the foregoing, such disclaimer of representations and warranties shall apply to the
    Project results and data and not to the Parties' obligation to comply with the terms of this Agreement,
    to conduct the Project in accordance with the Statement of Work and this Agreement and to obtain
    data according to acceptable professional or applicable regulatory standards.


              IN WITNESS WHEREOF, the parties have caused this Agreement to be executed by
    their respective duly authorized representatives as of the date first above written.


    Tassili Life Sciences Corp.                    University Of Miami
                                                                       Digitally signed by D. Stewart
                                                                       MacIntyre III

     ____________________________                  ____________________________
                                                                       Date: 2020.02.04 14:09:03
                                                                       -05'00'

    By: Jonathan Gilbert                           By: D. Stewart MacIntyre III, JD
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    indicate enduring psychological and cognitive effects that remain intertwined well post exposure to
    trauma. These include poor physical health, reduced quality of life, and negative psychological well-
    being. [7] Depending on the circumstances, over 50% of mTBI cases have concurrent PTSD and that
    figure continues to grow over time. [8,9] The combination of these disorders, therefore, affects millions
    of individuals. Moreover, the physical and cognitive effects of the combined disorders are dramatically
    greater than for either disorder alone. That is to say that the mTBI sequela are greater when there is
    coincident PTSD than when there is mTBI alone and the PTSD sequala are more impactful when the
    PTSD is secondary to mTBI. Attempting to treat mTBI and/or PTSD alone is very challenging. To date,
    there are no effective pharmaceutical treatments for the combination of these disorders. In this proposal
    we examine a strategy that combines two products for the treatment of PTSD and mTBI in a pre-clinical
    model. The proposal will use a well-established small rodent model (rat model) to test the use of a
    combination of products Cannabidiol (CBD) and Psilocybin(PS) in animals that have been subjected to
    mild-moderate traumatic brain injury with PTSD induced through a established rodent PTSD paradigm.

    Specific Aims
    This project is designed to examine a novel combination of products administered orally in a pre-clinical
    model of PTSD alone and combined mTBI and PTSD. The use of these compounds orally will establish
    the ability of these medications to be effective when absorbed through the gut and subject to first pass
    clearance by the liver. Moreover, the compounds must pass across the blood brain barrier and as such
    the compounds must be dosed in such a way that significant medicine reaches the targets inside the brain.
    The chemistry of oral bioavailability, first pass clearance, and permeability across the blood brain barrier
    is critically important but only if the medicines produce an affect. As such the specific aims of this
    project are to establish that the medicines can be given safely and produce an affect. Once this is
    established more specific work can examine dose response, medicine uptake, and medicine levels in
    specific brain tissue.

            The specific aims of the project are as follows:
            1) Demonstrate that oral Psilocybin (PS) alone and in combination with oral
               Cannabidiol (CBD) is tolerable and safe in the animal model.
               This must be performed in a variety of animal conditions as follows
               a) Rats that have undergone no trauma
               b) Rats that have undergone trauma (to be determined when SA 2 addressed)

            2) Demonstrate the PS in combination with CBD has beneficial effects in animals
                undergoing head trauma combined with a stress that produces PTSD in terms of
                objective measures of
                    a. Cognitive function
                    b. Hearing
                    c. PTSD response
            The standard measures shown are a critical means of determining the effectiveness of the
            combination of the two products on the effects of mTBI and PTSD and will be detailed below.

    Significance
    The combination of mTBI (Concussion) and concurrent PTSD is a major world health crisis that affects
    millions of people every year. This field is complicated by the fact that there are few, if any, accepted
    pharmacologic countermeasures for either disorder. For mTBI/concussion randomized trials have
    examined a variety of different therapies to include pharmacologic, rehabilitation, and hyperbaric
    medicine and have shown no proven benefit. [10] In the field, a variety of treatment options have been
    tried with little consistent benefit. [11] Most practitioners do not have a well-established treatment
    regimen and in most cases offer only symptomatic relief of headaches using non-steroidal anti-
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    inflammatories. [12] There are more accepted pharmacologic treatment modalities for PTSD but despite
    over fifty randomized controlled trials, only the Serotonin Re-uptake inhibitors (SSRI’s) have shown any
    benefit and much like non-steroidal medicines for headache, these medicines simply treat the anxiety
    component of the disorder rather than the disorder. [13] There remains no accepted pharmacologic
    treatment for either disorder that addresses the primary neuropathology. Moreover, even if a
    pharmacologic treatment for one of the two conditions is developed, it is unlikely that any single therapy
    will address the primary pathology of both conditions at the same time.

    Rationale for using CBD
    The chemical effect of CBD is hypothesized to reduce inflammation and to inhibit gliosis via inhibition of
    the immune cascade. One way to obtain this effect is through the use of a CB-2 agonist. The current




    study proposes to use cannabidiol (CBD), a naturally occurring chemical in certain varieties of marijuana,
    as the second component for the study. CBD has no psychoactive effect. CBD acts as a CB-2 agonist
    and presents a broad range of anti-inflammatory and immune inhibitory effects. There is extensive
    research into the cannabinoid CB2 receptor as a target for inflammation-dependent neurodegeneration.
    [14] There is a long history of the study of CBD as an anti-inflammatory agent and it has been tested in
    phase III clinical trials as a treatment for various disorders. Although research on the use of CBD and
    other cannabinoids as a possible treatment for various inflammatory disorders has been ongoing for
    decades, interest in this area has increased dramatically over the last 15 years. Aside from the general
    articles on cannabinoids and inflammation, there are many articles that specifically address cannabinoids
    as a possible treatment for concussions. [15-17] Recently work in our lab has demonstrated some positive
    effects of CBD (delivered interperitoneally) in a rat model of mTBI. Using a fluid percussion model, rats
    given CBD following a head injury took less time to locate a hidden platform in the water maze task
    compared to animals that undergo head injury and receive vehicle alone after TBI (Figure 1).

    Figure 1. Bar graph of the hidden platform task. Animal treated with CBD after fluid percussion brain
    injury located the hidden platform in less time compared to vehicle treated animals.

    In this same exposure pattern CBD treated animals demonstrated a reduced contusion volume when
    compared to vehicle treated animals
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    Figure 2. Bar graph of contusion volume. Animals treated with CBD had a reduced contusion volume on
    day 21 after brain trauma compared to vehicle treated animals.



    In a second model rats receiving CBD after blast injury have significantly better hearing outcomes than
    those that receive vehicle alone after the blast exposure
    Figure 3




    Figure 3 Bar graphs showing significantly improved hearing performance for animals after undergoing
    controlled blast exposure treated with CBD as compared to animals undergoing controlled blast treated
    with vehicle. Differences are significant for days 3, 7, and 14 after the blast

    The evidence suggests that CBD may work as a primary countermeasure for brain injury
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    Rationale for use of Psilocybin
    While pharmacologic advances over past six decades have produced significant benefits for many
    debilitated by psychiatric disorders such as PTSD , there remains significant numbers of individuals who
    have not experienced relief. Antipsychotics, antidepressants, anxiolytics and off label use of drugs to
    stabilize mood take a long time to show efficacy or lack of response and are frequently accompanied by a
    range of unwanted side effects over the long term. Psychological interventions, such as supportive
    psychotherapy, cognitive behavioral therapy, EMDR and biofeedback may work for some but the drop
    out rate is high due to the emotional challenge associated with PTSD that includes intense anxiety and
    hopelessness. Psilocybin offers potential as a promising new treatment for PTSD. Unlike the
    hallucinogenic MDMA, in which there are known neurotoxic effects, psilocybin has the capacity for
    psychosocial healing that is not accompanied by adverse physiological or psychological reactions. Rather,
    literature is emerging, beginning in the l960s, that this psychedelic intervention, when administered in the
    appropriate setting by experienced clinicians to carefully screened individuals, can activate one’s inner
    capacity for healing by inducing a psychological experience, described by terms that include “spiritual”
    and “mystical”, that leads to a replenished sense of purpose and self and new meaning in life. [18] Below
    are Phase 2 clinical trials, as outlined in Mithoefer, Grob, Brewerton (18) using psilocybin in the context
    of assisted psychotherapy.




    Rationale for use of the rat model
    Small animal models are essential in the study of mTBI and PTSD. [18-2] These animal models allow
    investigators to study the functional impact of both insults and to examine the anatomic pathologic
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    correlates. Moreover, these animals allow investigators to include enough animals to overcome the
    natural heterogeneity of both disorders (mTBI and PTSD). The most common small rodents used in this
    work are mice and rats. [19 -21] Mice are typically used when genetic studies are an important part of
    the work whereas rats are a better model when behavior will be studied since rats are more amenable to
    the training necessary to display the characteristics responses of PTSD (which involves changes in
    behavior of a previous trained and reliable model behavior). In this experiment we will utilize the rat for
    the following reasons: 1) Behavioral outcomes on tests of PTSD and mTBI are a core portion of this
    work, 2) Rats are hardier and a better model for the dual insult of mTBI and PTSD, 3) Our labs have
    extensive experience with the rat model, behavioral testing, and a variety of outcome measures.

    Materials and Methods
    Experimental Design
    In order to address AIM 1 (safety) we will begin by preparing a preparation of both CBD and Psilocybin
    that will be used to gavage the animals. Three preparations will be prepared. The base (vehicle) for
    dissolving the compounds will be peanut oil (since both CBD and PS are lipid soluble). The preparations
    will be: 1) CBD (2.0 mg) and PS (0.2 mg), 2) CBD (5.0 mg) and PS (0.5 mg) and 3) Peanut Oil alone. In
    the initial safety experiments animals will undergo once daily oral gavage dosing for seven days. The
    animals will survive for thirty days. Safety and tolerance will be determined by assessing for any clinical
    signs that would indicate poor health daily during drug administration followed by weekly assessment
    until euthanasia (See Appendix 1). For safety analysis we hope to have 10 animals per group and
    therefore this part of the experiment will require 30 animals.

     For Aim 2, we will examine five main exposure groups as follows: 1) No exposure, 2) Sham fluid
    percussion (surgical prep but no fluid percussion injury) plus PTSD trigger, 3) FP plus PTSD trigger, 4)
    Blast plus PTSD trigger, 5) Repeated Blast (known to be a PTSD trigger)alone. Each exposure is detailed
    below. In each of the 5 groups there will be two dosing paradigms as follows A) Vehicle alone and B)
    CBD plus PS. Since our previous work demonstrates the need for 12-15 rats per group. Each of the five
    exposure models will require 24-30 rats for a total of 120-150 rats. Given this volume of animals we will
    initially focus on three groups as follows: Group 1) No exposure, Group 3) FP plus PTSD trigger, Group
    4) Blast plus PTSD trigger, and Group 5 (repeated blast) thus requiring a total of 96-120 animals.
    Comparisons will be made between the performance of the rats within each group on each test using
    stated statistical methods to assess group mean differences (ANOVA, etc.)

    Methodology in detail
    Gavage - The combination of CBD and PS powder will be solubilized in a small amount of peanut oil.
    The peanut oil solution will then be orally gavaged into the animals once daily for seven days beginning
    within one hour of exposure and continuing for six more daily doses.

    Production of mTBI – Our labs have significant experience with mTBI models and two models will be
    utilized for this experiment a fluid percussion model (mild – moderate mTBI) and a blast model (mild
    mTBI)

    Fluid Percussion model
    Day 1 : For surgical preparation for the injury cap, isoflurane anesthesia is maintained via nose cone and
    the injury cap is placed on the exposed dura as follows. The rat’s head is shaved and swabbed with
    clorohexadine solution. The rat is then placed in a stereotaxic frame and the scalp surgically incised. A
    parasagittal craniotomy (4.8 mm) using a trephine is performed at 3.8 mm posterior to bregma and 2.5
    mm lateral to the midline. A sterile plastic injury tube (the plastic connector of a sterile needle cut 1 cm
    in length and trimmed to fill the craniotomy perfectly) is next placed over the exposed dura and bonded
    by crynoacrylic adhesive to the skull. Dental acrylic is then poured around the injury tube to obtain a
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    perfect seal. After the acrylic has hardened, the scalp is stapled/sutured back. Animals are removed from
    the anesthesia and returned to their home cage.
     Day 2: 24 hours after the previous injury cap preparation, the rats are reanesthetized with 0.5-5%
    isoflurane via a custom built anesthesia chamber, the animal is placed on the table and anesthesia is
    administered via a nose cone until catheters are placed and the animals is intubated. A catheter is placed
    in the right femoral artery or tail artery to monitor arterial blood pressure and blood gases. Brain
    temperature is indirectly measured by a thermistor placed in the left temporalis muscle and maintained at
    a normothermic (37oC) level prior and subsequent to TBI. Rectal temperature is also maintained at
    normothermic levels. After intubation, the animal is connected to a respirator and ventilated with 0.5-5%
    isoflurane in a mixture of 70% nitrous oxide and 30% oxygen. We use 14G IV catheters for the
    ventilation tube which we have modified to an appropriate length. The ventilation rate is 48 to 58 strokes
    per minute and the tidal volume is 2.5-3.5, this is adjusted for the weight of the animal. The animal is
    paralyzed with rocuronium or pancuronium or vencuronium for mechanical ventilation to maintain
    arterial blood gases within normal limits. The fluid percussion device consists of a plexiglass cylindrical
    reservoir bounded at one end by a rubber-covered plexiglass piston with the opposite end fitted with a
    transducer housing and a central injury screw adapted for the rat’s skull. The entire system is filled with
    isotonic saline. The (aseptic) metal injury screw is next firmly connected to the plastic injury tube of the
    intubated and anesthetized rat. The injury is induced by the descent of a metal pendulum striking the
    piston, thereby injecting a small volume of saline epidurally into the closed cranial cavity and producing a
    brief displacement (18 msec) of neural tissue. The amplitude of the resulting pressure pulse is measured
    in atmospheres by a pressure transducer and recorded on a PowerLab chart recording system. Sham
    animals will undergo all surgical procedures but are not subjected to the fluid percussion pulse. In the
    proposed studies, a moderate (1.8-2.2 atm) injury will be studied. Animals will receive Buprenorphine
    after the TBI. After either the TBI or sham injury, the injury cap is removed and the scalp is closed using
    staples. The area around the femoral artery will be prepped for sterility. The sterile incision for femoral
    artery cannulations is stapled as well. For tail artery incisions, the tail is sutured together with sterile
    sutures. After 45 min-1.5 hours, the animal awakens and is moved to an individual cage supplied with
    food and water until termination of the study. If the animal has difficulty eating, then the animal will be
    humanely euthanized. Similar to the previous brain injury protocols in the Bramlett lab, the rats (pre- and
    post-injury) in this protocol will be fed per the manufacturers recommended daily amount of 6 pellets per
    day for rats. Staples or sutures are removed 10-14 days post-injury after briefly placed under isoflurane
    anesthesia.

    Blast injury
    All animals will be anesthetized and placed in an animal holding tube inserted and secured one-foot
    within the end of the condensing tube. The animal holding tube positions the animal with the rat’s dorsal
    head surface to the on-coming shock wave. Subjects will be positioned 10 feet from the tube film
    diaphragm and will receive a BOP wave in a head-on orientation. The holding tube allows for isoflurane
    gas to feed to the animal to induce anesthesia allowing exposures to live but anesthetized animals. BOP
    waves will be measured and displayed for peak intensities, rise time and BOP wave durations using a
    Pacific Instruments 6000 DAQ with up to 32 channels, each with 250 kHz recording speed along with
    Dytran pressure transducers rated for 0 50 PSI measurement range and electronic conditioners interfaced
    with computers. An exposure will consist of anesthetized animals receiving a single blast wave exposure.
    Our initial investigations will examine the effects of single 10-20 psi (Friedlander wave with
    overpressure-underpressure sequence) which have been shown to demonstrate pathological effects

    Production of PTSD
    Predatory Threat
    Rats will be moved to special plastic cages which contains male cat urine for 10 minutes. This exposure
    creates a lasting PTSD phenotype in a humane fashion. [22] This cat urine exposure will take place prior
    to any TBI insult.
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    Repeated Blast Model
    A body of work has shown that repeated exposure of anesthetized rats to low level blast will produce a
    PTSD Phenotype. [23] In order to produce this effect rats will be exposed to blast as was described
    earlier. This blast will be repeated for three consecutive days. This PTSD model will initially be
    performed on one separate group of animals. This exposure produces both a mTBI and PTSD
    pheonotype and therefore does not have to be combined with any other exposure.

    Outcome measures
    A variety of outcome measures will be performed on all of the animals in this experiment. All outcome
    measures have been shown to be sensitive to changes that occur after mTBI, PTSD, and both disorders.

    1. Auditory Startle Response
    In this outcome measure we will use a special Plexiglas soundproof tube attached to an accelerometer and
    a special auditory speaker system. (SR labs, San Diego CA USA).[24] The device will be calibrated at
    regular intervals to measure sound levels. Rats with no pre-training will be placed in the tube and given
    5 minutes to acclimatize with 68 dB background white noise. After five minutes the rats will be exposed
    to a 50ms of 110dB tone delivered every 30 seconds for 15 minutes. Peak whole body startle response
    will be measure every 1 ms for 100 ms after the startle exposure in an automated fashion. The average
    peak value per rat is normalized by body weight to obtain a value.

    2. Light-Dark Emergence tasks
    A light dark emergence task is performed by placing rats in a specially designed box/chamber that has a
    dark and lighted side separated by a tunnel. Rats naturally seek the lighted side.[25] In this experiment
    we will place rats in the specially designed box for 5 minutes. The rats will be placed initially in the dark
    side and we will measure three outcomes 1) Amount of time in seconds required to reach lighted side, 2)
    Number of the rat entries into the lighted side, 3) Total amount of time spent in the lighted side. There
    are no special preparations required to perform this test and no training is required as well.



    2. Sensorimotor Testing:
    Spontaneous Forelimb Use: This test, described by Schallert and Lindner (1990) [26], assesses forelimb
    use during voluntary, spontaneous activity by evaluating the propensity of animals to adduct their
    forelimbs while rearing or standing. Animals are videotaped in a clear plastic cylinder for 5 minutes. The
    videotapes are scored in terms of forelimb-use asymmetry during vertical movements along the wall of
    the cylinder and for landings after a rear: (a) independent use of the left or right forelimb for contacting
    the wall of the cylinder during a full rear, to initiate a weight-shifting movement or to regain center of
    gravity while moving laterally in a vertical posture along the wall; Wall lands/movements and floor lands
    are each expressed in terms of (a) percent use of the ipsilateral (non-impaired) forelimb relative to the
    total number of ipsilateral and contralateral placements. During a rear, the first limb to contact the wall
    with clear weight support (without the other limb contacting the wall within 0.5 sec) is scored as an
    independent wall placement for that limb. Limb use ratio is calculated as contralateral/(ipsilateral +
    contralateral). This is assessed prior to brain injury as well as approximately 1 week post-trauma.

    2. Cognitive Testing:
    The analysis of cognitive function involves an assessment of spatial navigation using the water maze.
    Experiments that are primarily directed at assessing the activity of animals at numerous time points
    following TBI (such as when assessing the efficacy of therapeutic treatments designed to lessen the
    consequences of TBI) rely primarily on "acquisition" paradigms involving the simple place task and
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    working memory task, in which the animals are required to learn a new platform location during each test
    session. This protocol does not involve pretraining or testing in the water maze prior to surgery.

    General Procedures: The water maze used in this laboratory is a round pool (122 cm diameter; 60 cm
    deep) filled with water at 25 degree C. The maze is located in a quiet, windowless room, with a variety of
    distinct, extramaze cues. Four points on the rim designated as north (N), east (E), south (S), and west
    (W), serve as starting positions and divide the maze into four quadrants. A round platform is placed 1.5
    cm beneath the surface of the water, at a location that varies according to the requirements of the task (see
    below). The animal’s movement is videotaped with a CCD video which records the swim path. This
    animal’s swim path is then analyzed with Ethovision (Noldus) software program. This program
    determines path length, latency to reach the platform, time spent in each quadrant of the water maze, and
    swim speed.

    2a. Hidden Platform Task: The platform is located in a target quadrant of the maze. Each animal
    receives four trials each day that may last up to 60 s. If the rat successfully locates the platform within the
    60 sec, it is allowed to remain for 10 seconds. Otherwise, once 60 s elapses, it is placed on the platform
    for a period of 10 seconds. Inter-trial intervals are two to four minutes, during which rats are placed
    under a heat lamp.

    2b. Probe Trial: This consists of removing the platform completely from the pool. Animal is released
    from a predetermined position and the swim pattern is recorded for 30 seconds. An animal with intact
    spatial memory should spend a majority of time swimming in the target quadrant that previously
    contained the hidden platform.

    2c. Working Memory Task: For the working memory task, the animal is given 60 seconds to find a
    submerged (non-cued) platform placed in a novel location within the pool. If the rat fails to find the
    platform within 60 seconds, the animal is placed on the platform for 10 seconds. This is considered Trial
    1. Five seconds following Trial 1, a second identical trial is conducted for that same rat. Rats are placed
    under a heat lamp for 4 minutes between each paired trial. After running the group of rats as above, the
    platform is then moved to another novel location within the pool, and the paired trials are repeated. Five
    paired trials occur each day for 2 days.

    3. Auditory Brainstem Response (ABR):
    Hearing thresholds will be determined by auditory brainstem response (ABR) via subcutaneous platinum
    needle electrodes placed at the vertex (reference), right mastoid (negative) and the left hind limb with the
    animals anesthetized with ketamine (150 mg/kg) and xylazine (10 mg/kg). Digitally-generated stimuli
    will consist of 1024 specific frequency tone bursts at between 3 and 30 kHz with a trapezoid envelop of 5
    ms overall duration. The trapezoid will be presented at a 3 ms plateau with 1ms rise and fall. The stimulus
    will be routed through a computer-controlled attenuator to an insert earphone (Etymotic Research ER-2).
    The sound delivery tube of the insert earphone will be positioned about 5 mm from the tympanic
    membrane. The output of the insert earphone will be calibrated by measuring the sound pressure level at
    a position 4-5 mm away from the tympanic membrane. The electrical response from the recording
    electrode will be amplified (100,000 x), filtered (100-3000 Hz) and fed to an A/D converter on a signal
    processing board in the computer. Eight hundred to twelve hundred samples will be averaged at each
    level. Stimuli will be presented at the rate of 16/sec and the stimulus level will be varied in 10 dB
    descending steps, until threshold is reached, then a 5 dB ascending step to confirm. Threshold is defined
    as the mid-point between the lowest level at which a clear response is seen and the next lower level where
    no response is seen. ABR is determined as a reproducible wave II response.

    Statistics
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    All outcome measures yield measurable responses. The group mean response to each outcome will be
    compared utilizing an analysis of variance with significant differences set at p less than or equal to 0.05.
    Comparisons will be made between groups (types of treatment) in each exposure condition (e.g. CBD/PS
    vs. control carrier after Fluid Percussion plus PTSD stress).




    Appendix 1
    Animal Number:

    Clinical                                                    Date
    Signs
    Body Weight

    self-
    mutilation
    such as
    autotomy,
    excessive
    grooming
    leading to
    loss of
    dermal
    layers
    spontaneous
    vocalization
    when
    stimulated or
    touched
    any loss of
    >15% of body
    weight,
    inability to
    feed or drink
    poor
    grooming
    habits;
    listlessness;
    head in the
    corner of the
    cage
    excessive
    activity
    animals which
    develop a
    non-resolving
    infection at
    the surgical
    incision
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    Dysphoria

    Apathy

    Kyphosis

    Piloerection

    Dehydration
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                                               Exhibit B
                                                Budget



    The total agreed upon budget for the Project, including Institution’s overhead, is US $1,624,476.00.
    The schedule of payments to the Institution will be according to the following schedule:

    1st payment: US $324,895.20 due within 60 days of execution of this agreement by both parties.

    2nd payment: US $324,895.20 due 3 months after the 1st payment.

    3rd payment: US $324,895.20 due 3 months after the 2nd payment.
    4th payment: US $324,895.20 due 3 months after the 3rd payment.

    5th payment: US $324,895.20 due 3 months after the 4th payment.
